                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:11-00194
                                           )       JUDGE CAMPBELL
STERLING RIVERS, et al.                    )


                                          ORDER


      Pending before the Court is Defendant Rivers’ Petition for an Extension fo Time to File

Response to Motions to Quash by Co-Defendants (Docket No.1565). The Motion is DENIED.

      Defendant Rivers may raise any matters at the hearing on August 22, 2013.

      IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00194      Document 1566          Filed 08/22/13   Page 1 of 1 PageID #: 7891
